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                         EXHIBIT L-1
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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO

  In re:                                                                                PROMESA
  THE FINANCIAL OVERSIGHT AND                                                           Title III
  MANAGEMENT BOARD FOR PUERTO RICO,                                                     No. 17 BK 3283-LTS
             as representative of                                                       (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et
                                                                                        This filing relates to the
  al.,
                                                                                        Commonwealth, COFINA,
                                                    Debtors.1                           HTA, ERS, and PBA.


       ORDER GRANTING THREE HUNDRED SEVENTY-FOURTH OMNIBUS
    OBJECTION (SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO,
      PUERTO RICO SALES TAX FINANCING CORPORATION, PUERTO RICO
   HIGHWAYS AND TRANSPORTATION AUTHORITY, EMPLOYEES RETIREMENT
   SYSTEM OF THE GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO,
   AND PUERTO RICO PUBLIC BUILDINGS AUTHORITY TO LATE-FILED CLAIMS
              Upon the Three Hundred Seventy-Fourth Omnibus Objection (Substantive) of the

  Commonwealth of Puerto Rico, Puerto Rico Sales Tax Financing Corporation, Puerto Rico

  Highways and Transportation Authority, Employees Retirement System of the Government




  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and
      the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the
      (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK 3283-
      LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
      (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
      (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK
      3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
      Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-
      LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
      (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747);
      and (vi) Puerto Rico Public Buildings Authority (“PBA”, and together with the Commonwealth,
      COFINA, HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last
      Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case
      numbers due to software limitations).


  Certified to be a correct and true translation from the source text in Spanish to the target language English.
  20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
  By Targem Translations Inc.
Case:17-03283-LTS Doc#:19997-6 Filed:02/02/22 Entered:02/02/22 18:09:18                                            Desc:
                   Exhibit L-1 -Juan P. Lugo En Page 3 of 7



                                                            EXHIBIT D

                                                         Proposed Order




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  is in the best interest of the Debtors, their creditors, as well as of all interested parties; and

  the Court having determined that the legal and factual bases set forth in the Three Hundred

  Seventy-Fourth Omnibus Objection establish just cause for the relief granted herein; and

  after due deliberation and sufficient cause found, it is hereby

             ORDERED that the Three Hundred Seventy-Fourth Omnibus Objection is

  GRANTED as set forth herein; and it is further

             ORDERED that the Claims to Be Disallowed are hereby disallowed in their entirety;

  and it is further

             ORDERED that Prime Clerk is authorized and directed to delete the disallowed

  claims identified in Exhibit A to the Three Hundred Seventy-Fourth Omnibus Objection

  from the official claims register in the Title III Cases; and it is further

             ORDERED that this Court shall retain jurisdiction to hear and determine all matters

  arising from or related to the implementation, interpretation, or enforcement of this Order.

  Dated: September 24, 2021


                                                                                Honorable Judge Laura Taylor Swain
                                                                                United States District Judge



  Clarifying note:

        Please note for the record that I just received this today, September 24.
  I am proceeding to send this to state my interest in claim 168595 for the record,
  and looking forward to the best answer possible.

                                                              Cordially,




                                                                     3

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  of the Commonwealth of Puerto Rico, and Puerto Rico Public Buildings Authority to Late-

  Filed      Claims (“Three                Hundred          Seventy-Fourth             Omnibus Objection”)2        of   the

  Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Sales Tax Financing

  Corporation (“COFINA”), the Puerto Rico Highways and Transportation Authority

  (“HTA”), Employees Retirement System of the Government of the Commonwealth of

  Puerto Rico (“ERS”), and the Puerto Rico Public Buildings Authority (“PBA,” and together

  with the Commonwealth, COFINA, HTA, and ERS, the “Debtors”), dated August 20, 2021,

  to enter an order disallowing in their entirety certain late-filed claims filed against the

  Debtors, as more fully set forth in the Three Hundred Seventy-Fourth Omnibus Objection

  and supporting exhibits thereto; and the Court having jurisdiction to consider the Three

  Hundred Seventy-Fourth Omnibus Objection and to grant the relief requested therein

  pursuant to PROMESA section 306(a); and venue being proper pursuant to PROMESA

  section 307(a); and due and proper notice of the Three Hundred Seventy-Fourth Omnibus

  Objection having been provided to those parties identified therein, and no other or further

  notice being required; and the claims identified in the column titled “Claims to Be

  Disallowed” in Exhibit A to the Three Hundred Seventy-Fourth Omnibus Objection

  (collectively, the “Claims to Be Disallowed”) having been filed after June 29, 2018 at 4:00

  p.m. (Atlantic Time), the deadline set forth in the Bar Date Orders; and the Court having

  determined that the relief sought in the Three Hundred Seventy-Fourth Omnibus Objection




                                                                     2
  2
   Capitalized terms not otherwise defined herein shall have the meanings given to such terms in the
  Three Hundred Seventy-Fourth Omnibus Objection.
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                             TRANSLATOR’S CERTIFICATE OF TRANSLATION



  Translation from: Spanish (Puerto Rico) into English (US)

  TARGEM Translations Inc.



  I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc.,
  a NEW YORK City corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify
  that:

  the English translated document is a true and accurate translation of the original Spanish and has been
  translated to the best of my knowledge.



  Original Document Name: Claim No. 168595




                                                                 Signed this 20th day of December, 2021




                                                                 __________________________

                                                                     Andreea I. Boscor
